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                     Exhibit 5
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FD-395 (Rev 11-5-02)




                               FEDERAL BUREAU OF INVESTIGATION
                                      ADVICE OF RIGHTS

                                                         LOCATION
                       FEI    OrrlCE-
         Place:
                       ~kl-A Hoht,It    t! ,1'1
                                                                 Date:   / 'f - l oZ.O
                                                                         ~...            Time:       /1   :00   I'M
                                                    YOUR RIGHTS


         Before we ask you any questions, you must understand your rights.

         You have the right to remain silent.

         Anything you say can be used against you in court.

         You have the right to talk to a lawyer for advice before we ask you any questions.

         You have the right to have a lawyer with you during the questioning.

         If you cannot afford a lawyer, one will be appointed for you before any questioning if you wish.

         If you decide to answer questions now without a lawyer present, you have the right to stop
         answering at any time.


                                                         CONSENT

         I have read this statement of my rights and I understand what my rights are. At this time, I ami'
         willing to answer questions without a lawyer present.


                                                                    /IJ,        ~        //)~
                                                           Signed __~           ~=- ~            ~              _


                                                         WITNESS



         Witness:         aph--
                             --d---- -----
         Witness:~-~t1'=-''''-4k=Lc-=--a-.


         Time:           r      /J..:   0   3     fill




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